UNITED STATES DISTRICT COURT)
EASTERN DISTRICT OF WISCONSIN :

UNITED STATES OF AMERICA, unk ur DOURI

Plaintiff, Case No. 25-CR- 2 5- CR - 1 3 4

[18 U.S.C. §§ 922(g)(1) & 924(a)(8)]
JASON K. PYAWASIT, Green Bay Division

Defendant.

INDICTMENT

THE GRAND JURY CHARGES THAT:
1. On or about April 24, 2024, in the State and Eastern District of Wisconsin,
JASON K. PYAWASIT,

knowing he previously had been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed a firearm which, prior to his possession of it, had been
transported in interstate commerce, the possession of which was therefore in and affecting
commerce.

2. The firearm is further described as a Hatsan Arms Company Bscort Slugger 12-
gauge pump action shotgun without a serial number.

All in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

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NOTICE OF FORFEITURE

1. Upon conviction of the offense charged in the Indictment, the defendant shall forfeit
to the United States, pursuant to 21 U.S.C. § 853, any property constituting, or derived from,
proceeds obtained, directly or indirectly, as a result of the violation and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission of the
violation, including but not limited to a Hatsan Arms Company Escort Slugger 12-gauge pump
action shotgun without a serial number.

2. If any of the property described above, as a result of any act or omission by a
defendant: cannot be located upon the exercise of due diligence; has been transferred or sold to, or
deposited with, a third person; has been placed beyond the jurisdiction of the Court; has been
substantially diminished in value; or has been commingled with other property which cannot be
subdivided without difficulty, the United States of America shall be entitled to forfeiture of

substitute property, pursuant to 21 U.S.C. § 853(p).

RICHARD G. FROHLIXG
Acting United States Attorney

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